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     Sacramento, CA 95814
 4   Telephone: (916) 554-2748
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 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,              )   CASE NO. CR S 08-376 EJG
                                            )
12                      Plaintiff,          )   STIPULATION AND PROTECTIVE ORDER
                                            )   RE: DISSEMINATION OF DISCOVERY
13   v.                                     )   DOCUMENTS CONTAINING PERSONALLY
                                            )   IDENTIFYING INFORMATION
14   GARRET GRIFFITH GILILLAND III,         )
     and                                    )
15   NICOLE MAGPUSAO,                       )
                                            )
16                      Defendants.         )
                                            )
17                                          )
18
19        IT IS HEREBY STIPULATED AND AGREED among the parties and their
20   respective counsel, Russell L. Carlberg, Assistant U.S. Attorney,
21   representing plaintiff United States of America, and Krista Hart,
22   Esq., representing defendant Nicole Magpusao, that the documents
23   provided as discovery in this case to defense counsel are subject to a
24   Protective Order.    Defendant is charged with mail fraud and false
25   statements to lending institutions in connection with mortgages.       The
26   parties agree that discovery in this case contains “Protected
27   Information,” which is defined here as including victim and witness
28   social security numbers, driver license numbers, dates of birth,


     PROTECTIVE ORDER
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 1   addresses, telephone numbers, and email addresses.         This Protective
 2   Order extends to all documents provided in this case, including those
 3   concerning conduct not directly charged in the indictment.
 4        By signing this Stipulation and Protective Order, defense counsel
 5   agrees not to share any documents that contain Protected Information
 6   with anyone other than defense counsel and her        designated defense
 7   investigators and support staff.      Defense counsel may permit the
 8
     defendant to view unredacted documents in the presence of her
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     attorney, defense investigators and support staff.         The parties agree
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     that defense counsel, defense investigators and support staff shall
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     not allow the defendant to copy Protected Information contained in the
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     discovery.   The parties agree that defense counsel, defense
13
14   investigators, and support staff may provide the defendant with copies

15   of documents from which Protected Information has been redacted.

16      In the event that the defendant substitutes counsel, undersigned
17   defense counsel agrees to withhold documents containing Protected
18   Information from new counsel unless and until substituted counsel
19   agrees also to be bound by this order.
20
21   DATE: 2/17/10                   /s/ Krista Hart*
                                    Krista Hart
22                                  Attorney for NICOLE MAGPUSAO
23
24
     DATE: 2/17/10                  BENJAMIN B. WAGNER
25                                  United States Attorney

26
                              By:    /s/ Russell L. Carlberg
27                                  RUSSELL L. CARLBERG
                                    Assistant U.S. Attorney
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     ___________________
     * By permission.

     PROTECTIVE ORDER
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 1                                       ORDER
 2      For good cause shown, the stipulation of counsel in
 3
     criminal case no. S-08-376 EJG concerning Protected Information is
 4
     approved and
 5
        IT IS SO ORDERED:
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 7
     DATED: February 17, 2010        /s/ Edward J. Garcia
 8                                  Hon. Edward J. Garcia
                                    United States District Judge
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     PROTECTIVE ORDER
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